                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                        Plaintiff,          )
                                            )
               v.                           )      No. 06-00283-05-CR-W-NKL
                                            )
MARVIN C. LOCKETT,                          )
                                            )
                        Defendant.          )


                             ACCEPTANCE OF PLEA OF GUILTY
                              AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Sarah W.

Hays, to which no objection has been filed, the plea of guilty to Count 1 of the Superceding

Indictment is now accepted. Defendant is adjudged guilty of such offense. Sentencing will be set

by subsequent order of the court.


                                                    s/ NANETTE K. LAUGHREY
                                                   NANETTE K. LAUGHREY
                                                   United States District Judge

Kansas City, Missouri
October 18, 2007




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